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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                   Chapter 11

LATAM Airlines Group S.A., et al.,                       Case No.: 20-11254 (JLG)

                               Debtors.1                 Jointly Administered

                                                         Related Docket No. 762


 NOTICE OF FILING OF SUPPLEMENTAL DECLARATION OF EVELYN SAHR
ON BEHALF OF ECKERT SEAMANS CHERIN MELLOTT, LLC IN ACCORDANCE
    WITH THE ORDER AUTHORIZING THE DEBTORS TO RETAIN AND
  COMPENSATE CERTAIN PROFESSIONALS UTILIZED IN THE ORDINARY
    COURSE OF BUSINESS, NUNC PRO TUNC TO THE PETITION DATE

                PLEASE TAKE NOTICE that the debtors and debtors in possession in the

above-captioned jointly administered bankruptcy cases (jointly, the “Debtors”), filed a

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    The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax
    identification number (as applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A.
    (XX-XXXXXXX); Transporte Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical
    Training LATAM S.A. (96-847880K); LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A.
    (XX-XXXXXXX); Fast Air Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A.
    (XX-XXXXXXX); Aerovías de Integración Regional S.A. (XX-XXXXXXX); LATAM Finance Ltd. (N/A);
    LATAM-Airlines Ecuador S.A. (XX-XXXXXXX); Professional Airline Cargo Services, LLC (XX-XXXXXXX);
    Cargo Handling Airport Services LLC (XX-XXXXXXX); Maintenance Service Experts LLC (XX-XXXXXXX);
    Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime Airport Services, Inc. (XX-XXXXXXX); Professional
    Airline Maintenance Services LLC (XX-XXXXXXX); Connecta Corporation (XX-XXXXXXX); Peuco Finance
    Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas S.A. (N/A); Holdco Colombia
    II SpA (XX-XXXXXXX); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A. (XX-XXXXXXX); Lan
    Cargo Inversiones S.A. (XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment Ltd. (85-
    7753009); Professional Airlines Services Inc. (XX-XXXXXXX); Piquero Leasing Limited (N/A); TAM S.A.
    (N/A); TAM Linhas Aéreas S.A. (XX-XXXXXXX); Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah
    Fidelidade Ltda. (N/A); Fidelidade Viagens e Turismo S.A. (XX-XXXXXXX); TP Franchising Ltda.
    (N/A); Holdco I S.A. (XX-XXXXXXX) and Multiplus Corretora de Seguros Ltda. (N/A). For the purpose
    of these Chapter 11 Cases, the service address for the Debtors is: 6500 NW 22nd Street Miami, FL
    33122.
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motion for entry of an order authorizing the Debtors to employ and pay professionals

utilized in the ordinary course of business, (collectively, the “Ordinary Course

Professionals”) (subject to certain limits set forth therein) [Docket No. 148]

(the “Motion”).2

               PLEASE TAKE FURTHER NOTICE that on June 28, 2020, the Court

entered the Order Authorizing the Debtors to Retain and Compensate Certain Professionals

Utilized in the Ordinary Course of Business, Nunc Pro Tunc to the Petition Date (the “OCP

Order”) [Docket No. 389].

               PLEASE TAKE FURTHER NOTICE that, on August 4, 2020, the Debtors

filed the Notice of Filing of Declaration of Evelyn Sahr on Behalf of Eckert Seamans Cherin Mellott,

LLC in Accordance with the Order Authorizing the Debtors to Retain and Compensate Certain

Professionals Utilized in the Ordinary Course of Business, Nunc Pro Tunc to the Petition Date (the

“Notice of Filing of OCP Declaration”) [Docket No. 762].

               PLEASE TAKE FURTHER NOTICE that, on August 13, 2020, the Court

entered the Final Order Granting Debtors’ Motion for Entry of an Order Directing Certain Orders

in the Chapter 11 Cases of LATAM Airlines Group S.A. et al. Be Made Applicable to Subsequent

Debtors [Docket No. 861] (the “Final Bring Down Order”). Paragraph 2 of the Final Bring

Down Order makes the OCP Order applicable to the Subsequent Debtors (as defined in the

Final Bring Down Order).


                                 [concludes on following page]




2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in
    the Motion.


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               PLEASE TAKE FURTHER NOTICE that pursuant to the OCP Order,

attached hereto as Exhibit “A” is the Supplemental Declaration of Disinterestedness of

Evelyn Sahr on behalf of Eckert Seamans Cherin Mellott, LLC.

Dated: New York, New York
       March 2, 2022                    TOGUT, SEGAL & SEGAL LLP

                                        /s/ Kyle J. Ortiz
                                        Albert Togut
                                        Kyle J. Ortiz
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                                        and Debtors in Possession




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